Case 08-51131-gwz   Doc 1785   Entered 01/17/23 20:37:09   Page 1 of 11
Case 08-51131-gwz   Doc 1785   Entered 01/17/23 20:37:09   Page 2 of 11
                Case 08-51131-gwz                 Doc 1785          Entered 01/17/23 20:37:09                   Page 3 of 11

                                     UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF NEVADA

             In re: CETUS MORTGAGE, LTD                                                             Case No. 08-51131-GWZ
                                                                                                    Chapter 7
                                                                                            ,
                                         Debtor

                                  SUMMARY OF TRUSTEE'S FINAL REPORT
                                  AND APPLICATIONS FOR COMPENSATION


                    The Final Report shows receipts of                                          $       3,091,320.70

                    and approved disbursements of                                               $       2,941,075.78
                                                           1
                    leaving a balance on hand of                                                $         150,244.92

                                                         Balance on hand:                                   $              150,244.92
               Claims of secured creditors will be paid as follows:

Claim          Claimant                                       Claim Allowed Amount Interim Payments                           Proposed
No.                                                         Asserted       of Claim          to Date                          Payment
HOA-CIM-1 Eugene Burger                                        396.00                396.00                396.00                  0.00
          Management
HAMPTON&Hampton & Hamption                                  2,103.00               2,103.00              2,103.00                  0.00
        Collections
                                                         Total to be paid to secured creditors:             $                    0.00
                                                         Remaining balance:                                 $              150,244.92

               Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                                         Total Requested Interim Payments                   Proposed
                                                                                                   to Date                  Payment
Trustee, Fees - ANGELIQUE CLARK, TRUSTEE                                        115,887.02            109,597.88               6,289.14
Trustee, Expenses - ANGELIQUE CLARK, TRUSTEE                                       5,613.99              4,462.66              1,151.33
                                Total to be paid for chapter 7 administration expenses:                     $                7,440.47
                                Remaining balance:                                                          $              142,804.45




                1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
  earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
  receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
  account of the disbursement of the additional interest.

  UST Form 101-7-NFR (10/1/2010)
               Case 08-51131-gwz             Doc 1785    Entered 01/17/23 20:37:09              Page 4 of 11

               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                             Total Requested Interim Payments          Proposed
                                                                                       to Date         Payment
                                                      None
                            Total to be paid for prior chapter administrative expenses:     $              0.00
                            Remaining balance:                                              $        142,804.45

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $707,209.25 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim         Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                  of Claim          to Date           Payment
  134 -1      WASHOE COUNTY TREASURER                                   160.84             160.84              0.00
  689 -1      DEPT OF EMPLOYMENT TRAINING                               337.66             337.66              0.00
              AND REHAB-ESD
  BLTK-1      BLTK                                                 322,461.41           322,461.41             0.00
  KING-1      King Construction Loan - Funding Trust                13,547.30            13,547.30             0.00
DUNCAN-1 Duncan, Thomas                                             58,686.44            58,686.44             0.00
PBENVIN-1 Patrick Benvin                                            87,335.69            87,335.69             0.00
ROBERTS-1 Roberts, Todd                                             62,984.49            62,984.49             0.00
PORTERMI- Western Title                                             31,736.98            31,736.98             0.00
RODRIGUE- Rodriguez, Jimmy                                          17,471.34            17,471.34             0.00
RV&YACHT RV & Yacht                                                112,487.10           112,487.10             0.00
                                                Total to be paid for priority claims:       $              0.00
                                                Remaining balance:                          $        142,804.45
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).




   UST Form 101-7-NFR (10/1/2010)
                Case 08-51131-gwz           Doc 1785       Entered 01/17/23 20:37:09           Page 5 of 11

            Timely claims of general (unsecured) creditors totaling $ 7,201,193.06 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 14.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  2 -1         HAZEL M. SIMMONS Deceased                              51,023.34          6,238.39            890.81
  3 -1         HAZEL M. SIMMONS Deceased                              51,535.01          6,300.95            899.74
  4 -1         HAZEL M. SIMMONS- Deceased                             50,511.67          6,175.83            881.88
  8 -1         RAY P. HOGLAND, TRUSTEE                                50,416.67          6,164.21            880.22
 10 -1         MUCKEL ANDERSON CPAs                                   16,591.10          2,028.52            289.67
 11 -1         JAMES W. & PATRICIA J. OBERREUTER                      41,500.00          5,074.00            724.56
 12 -1         IRENE L. OBERREUTER                                    80,000.00          9,781.21          1,396.73
 13 -3         DARLENE LUSTER                                         50,000.00          6,113.26            872.96
 13 -4         DARLENE LUSTER                                         70,000.00          8,558.56          1,222.14
 14 -1         RAYMOND PIAZZA RETIREMENT                              30,000.00          3,667.95            523.77
               PLAN TRUST
 18 -1         WILLIAM & ESTERMAE HAINES                              50,000.00          6,113.26            872.95
 19 -2         GENE AND PATTI MCCLELLAND                              50,000.00          6,113.26            872.95
 20 -1         OPAL A. SMITH, TRUSTEE OF THE                        125,000.00          15,283.14          2,182.38
 21 -1         VICTOR ALAN PERRY, LLC                                 60,000.00          7,335.91          1,047.54
 26 -1         DOM & LAURIE GRAZIANO                                100,000.00          12,226.51          1,745.90
 35 -1         THE JEPHSON FAMILY TRUST                               40,000.00          4,890.61            698.35
 36 -1         C.W. ISAACSON                                          10,000.00          1,222.65            174.59
 39 -1         C.W. ISAACSON                                          10,000.00          1,222.65            174.59
 42 -1         HENRY L. CLARK                                         40,000.00          4,890.61            698.35
 43 -1         BARBARA BEAL                                           60,000.00          7,335.91          1,047.54
 45 -2         MCCLELLAND LABS, INC.                                100,000.00          12,226.51          1,745.90
 55 -1         CLYDE R. & SHARAN L. BROWN                             50,000.00          6,113.26            872.95
 67 -1         BEHRENS FAMILY TRUST                                   50,000.00          6,113.26            872.95
 68 -1         MICHAEL A. & ROCHELLE K.                               50,000.00          6,113.26            872.95
               FERNANDES
 73 -1         WILLIAM & BARBARA KAUSLER                              50,000.00          6,113.26            872.95




  UST Form 101-7-NFR (10/1/2010)
          Case 08-51131-gwz         Doc 1785      Entered 01/17/23 20:37:09    Page 6 of 11
79 -1    BARBARA J. CAIN                                  25,000.00     3,056.63         436.47
80 -1    BARBARA J. CAIN                                  10,000.00     1,222.65         174.59
81 -1    DONNA LEE BOWLUS, TRUSTEE                        25,000.00     3,056.63         436.47
85 -1    MICHAEL MOLLENHAUER                              40,000.00     4,890.61         698.35
88 -1    MICHAEL MOLLENHAUER                              20,000.00     2,445.30         349.18
91 -2    BARBARA SPIERSCH                                 25,000.00     3,056.63         436.47
93 -1    General Electric Capital Corp.                   10,061.84     1,230.21         175.67
94 -1    PEGGY & RODGER LAKEY                             74,000.00     9,047.62        1,291.97
98 -1    VERIZON BUSINESS GLOBAL                            254.75            0.00        35.59
102 -1   WILLIAM AND ROSALIE WRIGHT                      160,000.00    19,562.42        2,793.44
106 -1   LISA R. PROCHELLO                                33,533.34           0.00      4,685.42
108 -1   JANET SIMPKINS FAMILY TRUST                       5,218.00       637.98          91.10
114 -1   YVONNE F. RHODES                                 30,900.00           0.00      4,317.48
118 -1   MARY KAY WALKER                                  30,231.75     3,696.29         527.81
119 -1   E.J. & M.E. YOUNG FAMILY TRUST                   10,000.00     1,222.65         174.59
145 -1   PHILIP AND DONNA GREEN                           50,000.00     6,113.26         872.95
152 -1   DAN COLE                                        100,000.00    12,226.51        1,745.90
153 -1   ELAINE S. RUCH                                    1,200.00       146.72          20.95
162 -1   THOMAS E. MURPHY III & KAREN                     20,000.00     2,445.30         349.18
         MURPHY
163 -1   TODD & JULIA SCHLEGEL                            22,300.00     2,726.51         389.34
167 -1   Schuylkill Valley Sporting Goods, Inc.          151,000.00    18,462.04        2,636.30
168 -1   RANDALL R. & ElLAINE S. RUCH                     82,500.00    10,086.87        1,440.37
174 -1   LANDABURU FAMILY TRUST                           40,000.00     4,890.61         698.35
178 -1   M. TRACY ROBINSON                                11,000.00     1,344.92         192.05
180 -1   LANDABURU FAMILY TRUST                           35,126.39     4,294.73         613.27
186 -1   GINO MOTL                                       300,000.00    36,679.54        5,237.70
194S-1   HENRY & ELFRIEDE GUNDLACH                        10,000.00     1,222.65         174.59
200 -1   WARWICK LIVING TRUST                             10,000.00     1,222.65         174.59
208 -1   JUDY HIGGS                                       50,000.00     6,113.26         872.95
214 -1   JUDITH HIGGS                                     20,000.00     2,445.30         349.18
217 -1   JANICE YVONNE PETERSON                           30,000.00     3,667.95         523.77
230 -1   HAGEN LIVING TRUST                              350,000.00    42,792.80        6,110.64




 UST Form 101-7-NFR (10/1/2010)
          Case 08-51131-gwz       Doc 1785   Entered 01/17/23 20:37:09   Page 7 of 11
233 -1   GERALD T. CONWAY TRUST                      25,000.00     3,056.63        436.47
243 -1   THE ESTATE of VERONICA DORRIE              200,000.00    24,453.03       3,491.79
256S-1   DIXON ELECTRIC PENSION PLAN                100,000.00    12,226.51       1,745.90
         TRUST
259S-1   DIXON ELECTRIC PENSION PLAN                 40,000.00     4,890.61        698.35
         TRUST
262S-1   DIXON ELECTRIC PENSION PLAN                 65,000.00     7,947.23       1,134.84
         TRUST
263S-1   GEORGE M. & JANIS DIXON                     68,000.00     8,314.03       1,187.21
266S-1   DIXON ELECTRIC PENSION PLAN                139,000.00    16,994.86       2,426.79
         TRUST
268S-1   DIXON ELECTRIC PENSION PLAN                 75,000.00     9,169.89       1,309.42
         TRUST
272S-1   DIXON ELECTRIC PENSION PLAN                139,000.00    16,994.86       2,426.79
         TRUST
273S-1   KELVIN R. LAIRD                              5,000.00       611.33         87.29
274S-1   The Estate of DIALMA M. BLENKINSOP          60,000.00     7,335.91       1,047.54
297 -1   JESSEE & VICKI WILLIAMS                     40,000.00     4,890.61        698.35
298 -1   MARY ANN GIANNOTTI                          50,000.00     6,113.26        872.95
299 -1   THE ESTATE OF LOIS G. ROBINSON              15,000.00     1,833.98        261.88
325 -1   PHILIP J. MAITA AND TABITHA                100,000.00    12,226.51       1,745.90
         MICHELLE MAITA
333 -1   CAROL R. PORTA REVOCABLE TRUST             135,000.00    16,505.79       2,356.97
337 -1   MARIA CONNOLLY                              20,000.00     2,445.30        349.18
338 -1   MARIA CONNOLLY                              28,000.00     3,423.42        488.86
339 -1   PATRICK CONNOLLY                            30,000.00     3,667.95        523.77
341 -1   THE ESTATE OF LOIS G. ROBINSON              13,000.00     1,589.45        226.96
342 -1   MARIA CONNOLLY                              18,000.00     2,200.77        314.26
346 -1   BRUCE LEE BLEDSOE                          150,000.00    18,339.77       2,618.85
349 -1   SIMPKINS FAMILY TRUST                        5,300.00       648.01         92.53
352U-1   SIMPKINS FAMILY TRUST                        5,250.00       641.89         91.66
358 -1   REGINA MORMANDO                             20,000.00     2,445.30        349.18
360 -1   REGINA MORMANDO                             20,000.00     2,445.30        349.18
361 -1   REGINA MORMANDO                             20,000.00     2,445.30        349.18
365 -1   WHITNEY H. LAUREN FAMILY TRUST              20,000.00     2,445.30        349.18




 UST Form 101-7-NFR (10/1/2010)
          Case 08-51131-gwz       Doc 1785   Entered 01/17/23 20:37:09    Page 8 of 11
367 -1   WHITNEY H. LAUREN FAMILY TRUST              15,000.00     1,833.98         261.88
375 -1   ROSE MOORE                                  25,000.00     3,056.63         436.47
376 -1   DARRELL MORMANDO-Trustee                    20,000.00     2,445.30         349.18
378 -1   DARRELL MORMANDO-Trustee                    40,000.00     4,890.61         698.35
393 -1   DARRELL & STACY DOUTRE                      19,000.00     2,323.04         331.72
395 -1   STACY DOUTRE CUSTODIAN FOR                  10,000.00     1,222.65         174.59
397 -1   STACY DOUTRE CUSTODIAN FOR                  17,000.00     2,078.51         296.80
399 -1   STACY DOUTRE CUSTODIAN FOR                   4,500.00       550.19          78.57
407 -1   JEANNE KEITH                                25,000.00     3,056.63         436.47
408 -1   JEANNE KEITH                                20,000.00     2,445.30         349.18
412 -1   JENNIFER R. HICKOK, CUSTODIAN               15,000.00     1,833.98         261.88
413 -1   JENNIFER HICKOK                             60,000.00     7,335.91        1,047.54
414 -1   JENNIFER R. HICKOK, CUSTODIAN               10,000.00     1,222.65         174.59
415 -1   JENNIFER R. HICKOK, CUSTODIAN               10,000.00     1,222.65         174.59
422 -1   WL STEPHENS FAMILY TRUST                    25,000.00           0.00      3,493.10
         AGREEMENT
424 -1   SHARON & STEPHEN GIES                       60,000.00     7,335.91        1,047.54
425 -1   SHARON & STEPHEN GIES                      110,000.00    13,449.17        1,920.48
434 -1   GREGORY W. NELSON                           75,000.00     9,169.89        1,309.42
439S-1   ROSASCO FAMILY TRUST                       100,000.00    12,226.51        1,745.90
440 -1   CALVIN H. & JANET DECOURSEY                103,000.00    12,593.31        1,798.27
         TRUST
446 -1   MICHAEL A. HALL                             46,317.00     5,662.95         808.65
447 -1   GEORGE C. & TERRY ANNE                      10,549.98     1,289.89         184.20
         SCHUMACHER
450U-1   GLORIA SHEEHAN                              70,000.00     8,558.56        1,222.13
451 -1   JUDITH HIGGS                                 5,000.00       611.33          87.29
452 -1   JUDITH HIGGS                                 5,000.00       611.33          87.29
453 -1   JUDY E. HIGGS TR.                           35,000.00     4,279.28         611.06
465 -1   GEORGE C. & TERRY ANNE                      52,750.02     6,449.49         920.96
         SCHUMACHER
472 -1   ROSALBA TIBADUIZA                           60,000.00     7,335.91        1,047.54
474 -1   THE KRIS NEVIUS REVOCABLE TRUST             30,000.00     3,667.95         523.77
483 -1   MCCLELLAND LIVING TRUST                     20,000.00     2,445.30         349.18




 UST Form 101-7-NFR (10/1/2010)
          Case 08-51131-gwz       Doc 1785   Entered 01/17/23 20:37:09    Page 9 of 11
485 -1   Kathleen M. Sweeney                        100,000.00    12,226.51        1,745.90
487 -1   SHEEHAN VAN WOERT BIGOTTI                   30,000.00     3,667.95         523.77
         ARCHITECTS
497 -1   LAVONE BOOTH                               100,000.00    12,226.51        1,745.90
498 -1   TESSA ARNOW GST TRUST #2                    50,000.00     6,113.26         872.95
500 -1   GEORGE C. & TERRY ANNE                      53,300.00     6,516.73         930.57
         SCHUMACHER
502 -1   GEORGE C. SCHUMACHER &                      10,418.33     1,273.80         181.89
506 -3   MELARKEY KNOBEL & MULLIGAN                  10,000.00     1,222.65         174.59
         PROFIT SHARING PLAN AND
527 -3   MELARKEY KNOBEL MULLIGAN                    10,000.00     1,222.65         174.59
         PROFIT SHARING PLAN AND T
529 -3   DAVID S. MOSS AND STEVEN L. MOSS            11,140.68     1,362.12         194.50
534 -3   RICHARD SPERO OR LINDA SPERO ITF             6,189.47       756.76         108.06
         AARON J. SPERO
535 -3   RICHARD SPERO                               24,756.97     3,026.91         432.24
549 -3   RICHARD A. SPERO OR LINDA SPERO             10,481.56     1,281.53         183.00
         ITF DAVID A. SPERO
552 -3   MELARKEY KNOBEL MULLIGAN                    10,000.00     1,222.65         174.59
         PROFIT SHARING PLAN AND T
566 -3   MELARKEY KNOBEL MULLIGAN                    10,000.00     1,222.65         174.59
         PROFIT SHARING PLAN AND T
575--2   DEMETRAS and O'NEILL                        60,000.00     7,335.91        1,047.54
577 -1   CARY & ERIN YOUNG                           60,000.00     7,335.91        1,047.54
578 -1   BEVERLY WALLACE                             50,000.00           0.00      6,986.21
581 -3   MELARKEY KNOBEL MULLIGAN                    20,000.00     2,445.30         349.18
         PROFIT SHARING PLAN AND T
589 -3   MELARKEY KNOBEL MULLIGAN                    20,000.00     2,445.30         349.18
         PROFIT SHARING PLAN AND T
590 -3   DAVID S. MOSS EDUCATIONAL TRUST              7,942.85       971.13         138.68
591 -4   DIANA J. MOSS EDUCATIONAL TRUST             15,884.97     1,942.18         277.33
594 -1   NANCY L. M. GHUSN TRUST                     40,000.00     4,890.61         698.35
598 -3   RICHARD A. SPERO OR LINDA SPERO              2,669.12       326.34          46.60
         ITF AARON SPERO
599 -3   RICHARD SPERO                                5,338.25       652.68          93.20
600 -3   MELARKEY KNOBEL MULLIGAN                    20,000.00     2,445.30         349.18
         PROFIT SHARING PLAN AND T




 UST Form 101-7-NFR (10/1/2010)
               Case 08-51131-gwz          Doc 1785       Entered 01/17/23 20:37:09            Page 10 of 11


 613 -1        MICHAEL JOHN PONTRELLI & NORMA                      100,000.00         12,226.51          1,745.90
               JEAN PONTRELLI, TRU
 620 -1        JIM JEFFERS JR. & PATRICIA A.                        30,000.00           3,667.95             523.77
               JEFFERS
 625 -1        CYNTHIA G. DAVIS (2ND AMENDED                        50,000.00           6,113.26             872.95
               CYNTHIA G.
 642 -1        LYNN MINDICINO SEP IRA                               25,000.00           3,056.63             436.47
 651S-1        GAYLE ROBINSON                                      125,000.00         15,283.14          2,182.38
 656 -1        JOHN & KAY OSTERLUND                                100,000.00         12,226.51          1,745.90
 669 -1        DEBRA HORTON                                         55,000.00           6,724.58             960.25
 672 -1        JOHNNIE M. FLESHMAN                                  20,000.00           2,445.30             349.18
 674 -1        RAJEN N. BHATT                                       10,500.00           1,283.78             183.32
 691 -1        MICHAEL CAREW, SPRINGVILLE                          100,000.00         12,226.51          1,745.90
               INVESTORS II, LP
 692 -2        ANTOINETTE LUCCHESI                                  14,290.00           1,747.17             249.49
 693 -2        BARBARA BEAL RICHARDS                                10,710.00           1,309.46             186.99
                            Total to be paid for timely general unsecured claims:         $         142,804.45
                            Remaining balance:                                            $               0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00




  UST Form 101-7-NFR (10/1/2010)
               Case 08-51131-gwz             Doc 1785        Entered 01/17/23 20:37:09              Page 11 of 11


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                           None
                                                    Total to be paid for subordinated claims: $                        0.00
                                                    Remaining balance:                        $                        0.00




                                                Prepared By: /s/ANGELIQUE CLARK
                                                                               Trustee

             ANGELIQUE CLARK
             C/O OFFICE OF THE U.S.TRUSTEE
             300 BOOTH STREET #3009
             RENO, NV 89509
             Aclarkttee@hotmail.com


             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. §1320.4(a)(2) applies.




  UST Form 101-7-NFR (10/1/2010)
